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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                 )              CASE NO. 8:11CR296
                                          )
                    Plaintiff,            )
                                          )                 MEMORANDUM
             v.                           )                  AND ORDER
                                          )
ANDRES LOPEZ,                             )
                                          )
                    Defendant.            )

      The Defendant has filed what appears to be a pro se motion seeking relief under

Sentencing Guideline Amendment 782, along with motions to hold in abeyance and a

request for appointment of counsel.

      IT IS ORDERED that:

      1.     The Defendant’s pro se motion seeking relief under Sentencing Guideline

      Amendment 782 (Filing No. 107) will be held in abeyance pursuant to General

      Order No. 2014-09;

      2.     The Defendant’s pro se Motion for Appointment of Counsel (Filing No. 106)

      is denied; and

      3.     The Clerk shall provide the Defendant with a copy of this order and General

      Order No. 2014-09. The Clerk shall also give notice of the entry of this order to the

      United States Attorney, to the Federal Public Defender, and to the Supervisory

      United States Probation Officer who handles presentence reports.

      DATED this 14th day of November, 2014.


                                         BY THE COURT:


                                         s/Laurie Smith Camp
                                         Chief United States District Judge
